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                                    No. 23-1135


   UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT

                              DARLENE GRIFFITH,

                              Plaintiff and Appellant,

                                         vs.

  EL PASO COUNTY, COLORADO; BILL ELDER, in his individual and official
  capacities; CY GILLESPIE, in his individual capacity; ELIZABETH O’NEAL, in
    her individual capacity; ANDREW MUSTAPICK, in his individual capacity;
   DAWNE ELLISS, in her individual capacity; TIFFANY NOE, in her individual
              capacity; and BRANDE FORD, in her individual capacity,

                             Defendants and Appellees.


          Appeal from the U. S. District Court for the District of Colorado
      The Honorable Christine M. Arguello, Senior United States District Judge
                    Civil Action No. 1:21-CV-00387-CMA-NRN


   BRIEF OF DISABILITY RIGHTS EDUCATION AND DEFENSE FUND
     AND THIRTEEN OTHER ORGANIZATIONS AS AMICI CURIAE
           IN SUPPORT OF PLAINTIFF-APPELLANT AND
                URGING REVERSAL AND REMAND


         Cynthia L. Rice, SBN 87630                Maria Michelle Uzeta, SBN 164402
Civil Rights Education & Enforcement Center    Disability Rights Education & Defense Fund
      1245 E. Colfax Avenue, Suite 400                3075 Adeline Street, Suite 210
              Denver, CO 80218                             Berkeley, CA 94703
         Email: crice@creeclaw.org                       Email: muzeta@dredf.org
             Tel: (303) 551-9389                           Tel: (510) 644-2555

                             Counsel for Amici Curiae
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                          FULL LIST OF AMICI CURIAE

       1.     Disability Rights Education and Defense Fund

       2.     The Arc of the United States

       3.     Autistic Self Advocacy Network

       4.     Autistic Women and Nonbinary Network

       5.     The Judge David L. Bazelon Center for Mental Health Law

       6.     The Coelho Center for Disability Law, Policy and Innovation

       7.     Civil Rights Education and Enforcement Center

       8.     Disability Law Colorado

       9.     Disability Rights Advocates

       10.    Disability Rights Bar Association

       11.    Impact Fund

       12.    National Association for Rights Protection and Advocacy

       13.    National Disability Rights Network

       14.    Transgender Legal Defense and Education Fund




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              CONSENT OF THE PARTIES TO THE FILING
           FEDERAL RULE OF APPELLATE PROCEDURE 29(a)(2)

        This motion is filed with the consent of Devi Rao, counsel for Plaintiff-

  Appellant, and Steven W. Martyn, counsel for Defendants-Appellees.

                   CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, counsel

  for Amici Curiae certifies that no Amici has a parent corporation and that no

  publicly held corporation owns 10 percent or more of any Amici’s respective stock.

                    STATEMENT PURSUANT TO
          FEDERAL RULE OF APPELLATE PROCEDURE 29(a)(4)(E)

        The undersigned certifies that no party’s counsel authored this brief in whole

  or in part, and that no party, party’s counsel, or any other person other than Amici,

  their members, or their counsel, contributed money that was intended to fund

  preparing or submitting this brief.




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                   IDENTITY AND INTERESTS OF AMICI CURIAE

           Amici are organizations that represent and advocate for the rights of people

  with disabilities, including transgender individuals who have been diagnosed with

  gender dysphoria. Amici have extensive policy and litigation experience and are

  recognized for their expertise in the interpretation of civil rights laws affecting

  individuals with disabilities including the Americans with Disabilities Act

  (“ADA”), 42 U.S.C. §§ 12101-12213, and Section 504 of the Rehabilitation Act of

  1973, 29 U.S.C. § 794 (“Section 504”). Collectively and individually, Amici have a

  strong interest in ensuring that these disability rights statutes are properly

  interpreted and enforced, consistent with Congress’s remedial intent to eliminate

  discrimination and address segregation and exclusion.

           Given Amici’s strong interests, the March 27, 2023, Order of the Honorable

  Christine M. Arguello granting Defendants-Appellees’1 Motion to Dismiss is of

  significant concern. Although the district court correctly held that gender dysphoria

  is not excluded from the ADA’s definition of “disability,” its subsequent dismissal

  of Plaintiff-Appellant’s2 damages claims under the ADA and Section 504 was in

  error. In the February 27, 2023, Report and Recommendation (“Report”) affirmed




  1
      Defendants-Appellees are collectively referred herein as “Defendants.”
  2
      Plaintiff-Appellant is referred to herein as “Plaintiff.”


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  and adopted by the district court, Magistrate N. Reid Neureiter opined that the law

  is “unsettled” regarding whether discrimination based on gender dysphoria violates

  the ADA and Section 504. A.122-123.3 Based solely on this opinion, the court

  concluded that Plaintiff could not plausibly allege that Defendants were

  “deliberately indifferent” in their discrimination—i.e., that Defendants “knew that

  a harm to a federally protected right was substantially likely.” A.139, citing A.122-

  123 (emphasis in original). In so holding, the court wrongly conflated the ultimate

  merits of Plaintiff’s disability claims with the factual question of whether

  Defendants had notice of Plaintiff’s disability-related need for accommodation and

  failed to act on the same. Further, the court erroneously posited that a defendant

  can be shielded from liability for damages for intentional discrimination based on a

  contention that one of the elements of the plaintiff’s claim—here, whether the

  Plaintiff was legally disabled —was unsettled. If permitted to stand, the district

  court’s analysis will allow entities free rein to discriminate unless and until all

  courts agree a condition is a covered disability. This will severely weaken

  enforcement of the ADA.

        Of additional concern to Amici, Magistrate Neureiter’s Report suggests that

  the Supreme Court’s opinion in Cummings v. Premier Rehab Keller, P.L.L.C., 142


  3
   Citations to Plaintiff-Appellant’s Appendix use an “A., [page/paragraph
  number]” format.


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  S. Ct. 1562 (2022), may preclude the recovery of compensatory damages under the

  ADA and Section 504. A.122. However, the Cummings opinion is expressly

  limited to claims for emotional distress damages, and only considered the

  availability of such damages under Section 504 and the Patient Protection and

  Affordable Care Act, 42 U.S.C. § 18116. Cummings, 145 S. Ct. at 1569. Because

  the availability of compensatory damages is essential in safeguarding the rights of

  people with disabilities under disability rights statutes, Amici has an interest in

  ensuring that the Cummings decision is not improperly expanded.

          The experience, expertise, and unique perspective of Amici make them

  particularly well suited to assist this Court in resolving the important legal issues

  presented in this case. Amici are described in the attached Addendum.

                             SUMMARY OF ARGUMENT

          The primary question addressed by this brief is whether Plaintiff’s

  complaint4 sufficiently alleges that Defendants intentionally discriminated against

  her when they failed to provide her with reasonable accommodations for her

  gender dysphoria. Amici will show that Plaintiff sufficiently pled the intentionality

  of Defendants’ discrimination, both through discriminatory animus and “deliberate




  4
      “Complaint” means Plaintiff’s Third Amended Complaint, filed June 7, 2022.


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  indifference.” Accordingly, Plaintiff’s damages claims under the ADA and Section

  504 should not have been dismissed at pleadings stage.

        Additionally, Amici contend that the district court’s finding that Defendants

  are immune from damages because the fact of Plaintiff’s disability was legally in

  dispute is erroneous and entirely novel, upending the ADA and its precedent.

        Finally, although this Court need not address the issue of whether the

  Supreme Court’s decision in Cummings applies in this case, should it choose to do

  so Amici urge the Court to reject the suggestion that Cummings forecloses the

  availability of compensatory damages to Plaintiff, as Cummings is limited in its

  application to the availability of emotional distress damages and did not consider

  the availability of damages under the ADA.

                                     ARGUMENT

  I.   Plaintiff Sufficiently Pled Intentional Discrimination Under the ADA and
       Section 504—The District Court’s Dismissal on the Pleadings Must be
       Reversed

        To recover monetary damages under Title II of the ADA or Section 504,

  Plaintiff must prove intentional discrimination on the part of Defendants. In this

  Circuit, like most circuits,5 intentional discrimination may be shown with evidence


  5
    See, e.g., Basta v. Novant Health Inc., 56 F.4th 307, 316-317 (4th Cir. 2022); S.H.
  ex rel. Durrell v. Lower Merion Sch. Dist., 729 F.3d 248, 263 (3d Cir. 2013); Liese
  v. Indian River Cnty. Hosp. Dist., 701 F.3d 334, 345 (11th Cir. 2012); Meagley v.
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  Univ. Hosp., 582 F.3d 268, 275–276 (2d Cir. 2009); Barber ex rel. Barber v. Colo.

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  of discriminatory animus or that the defendant acted with “deliberate indifference.”

  See Havens v. Colorado Dep’t of Corr., 897 F.3d 1250, 1264 (10th Cir. 2018)

  (citations omitted). “‘The test for deliberate indifference consists of two prongs:

  (1) ‘knowledge that a harm to a federally protected right is substantially likely,’

  and (2) ‘a failure to act upon that ... likelihood.’” Barber ex rel. Barber, 562 F.3d

  1222, 1229-30 (10th Cir. 2009) (citing Duvall v. County of Kitsap, 260 F.3d 1124,

  1139 (9th Cir. 2001); accord J.V. v. Albuquerque Pub. Schs., 813 F.3d 1289, 1298

  (10th Cir. 2016).

        The operative complaint details extensive allegations of discriminatory

  animus on the basis of Plaintiff’s disabilities, including slurs (e.g., “blind faggot”),

  unwanted touchings, threatened and actual sexual assaults, and facially

  discriminatory policies and practices. See generally, A.26-82. These allegations

  sufficiently pled intentionality through discriminatory animus. See Tesone v.

  Empire Mktg. Strategies, 942 F.3d 979, 995 (10th Cir. 2019) (describing evidence

  that may support discriminatory animus including adoption of a facially

  discriminatory policy). Yet, the district court did not address animus at all. Rather,

  the district court focused solely on whether Plaintiff met the deliberate indifference

  test, and exclusively on whether she adequately pled that Defendants had



  Dept. of Revenue, 562 F.3d 1222, 1228–29 (10th Cir. 2009); Duvall v. County of
  Kitsap, 260 F.3d 1124, 1138-1139 (9th Cir. 2001).


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  knowledge that a harm to a federally protected right was substantially likely.

  A.122-123.

        The knowledge prong of the deliberate indifference test is satisfied “[w]hen

  the plaintiff has alerted the public entity to [her] need for accommodation (or

  where the need for accommodation is obvious, or required by statute or

  regulation).” Duvall at 1139. As described in Sections I.A. and I.B., below, the

  factual allegations in Plaintiff’s complaint make this showing.

        Because Plaintiff sufficiently pled intentional discrimination, both through

  discriminatory animus and deliberate indifference, the district court’s dismissal on

  the pleadings should be reversed. Defendants’ knowledge and intent are questions

  of fact unsuitably decided on a motion to dismiss. “Judgments about intent are best

  left for trial and are within the province of the jury.” Randle v. Aurora, 69 F.3d

  441, 453 (10th Cir. 1995). See also, Robertson v. Las Animas Cnty. Sheriff’s Dep’t,

  500 F.3d 1185, 1200 (10th Cir. 2007) (reversing and remanding summary

  judgment entered on the disability claims because genuine issues of material fact

  existed as to whether the plaintiff was disabled within the meaning of the ADA and

  whether the detention facility knew of his disability); and Romero v. Union Pac.

  R.R., 615 F.2d 1303, 1309 (10th Cir. 1980) (debatable issues of motive and intent

  are “particularly inappropriate for summary judgment disposition”).




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            A. Plaintiff pled that Defendants had actual notice of her disability
               and need for accommodation, meeting the knowledge prong of the
               deliberate indifference test

                    i. Plaintiff pled she repeatedly advised Defendants of her
                       disability and need for accommodation

        Plaintiff’s complaint is replete with allegations establishing that Defendants

  had actual notice of her disability and need for accommodation. For example,

  Plaintiff alleges that Defendants were aware of her diagnosis and history of gender

  dysphoria. A.32, ¶¶ 26-27. Plaintiff alleges that she notified Defendants of her

  gender dysphoria diagnosis during her intake screening and explicitly requested

  placement in a women’s facility because, among other things, she feared being

  sexually abused and assaulted in male facilities and feared the humiliation of being

  searched by male guards. A.37, ¶ 48.

        Plaintiff also alleges that Defendants did an “ADA initial interview” of her

  during which she asked to be placed in housing that corresponded with her gender

  identity to accommodate her gender dysphoria. A.37-38, ¶ 55.

        Plaintiff alleges that after being initially classified into an all-male unit, she

  repeatedly and continuously requested that she be transferred to housing that

  corresponds with her gender identity to accommodate her gender dysphoria. A.38,

  ¶¶ 56-58; A.39, ¶¶ 59, 61, 63; A.40, ¶ 65. Plaintiff further alleges that she filed

  numerous inmate grievances requesting that she be transferred to housing that


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  corresponds with her gender identity to accommodate her gender dysphoria. A.38,

  ¶ 57; A.39, ¶¶ 59, 61, 63.

        Plaintiff alleges that she told Defendants on multiple occasions that she had

  previously been housed in female units at correctional facilities, including the

  Denver Women’s Prison, as an accommodation for her gender dysphoria. A.38, ¶

  57; A.39, ¶59; A.40, ¶65. Plaintiff further alleges that the fact of her prior

  accommodation was confirmed by Defendants. A.40, ¶65.

        Finally, Plaintiff alleges that she filed grievances with Defendants regarding

  a number of other accommodations she sought for her gender dysphoria and was

  denied, including access to gender-affirming clothing, that Defendants address her

  by her proper name and pronouns, that Defendants refrain from harassing her, and

  that she not be subjected to non-routine cross-gender pat down searches. A.45, ¶¶

  93, 97; A.46, ¶ 101; A.47, ¶¶ 102-104; A.48, ¶¶ 110-112; A.49, ¶¶ 114-116.

                    ii. Plaintiff pled that Defendants had notice of the physical
                        symptoms of her disability and the impact of Defendants’
                        failure to accommodate

        Plaintiff alleges that Defendants were aware of her history of self-harm, a

  symptom and manifestation of her gender dysphoria diagnosis. A.32, ¶ 29. Plaintiff

  further alleges that she alerted Defendants to her self-harming thoughts throughout

  her incarceration. Id. Plaintiff also alleges that Defendants were aware of her

  history of suicide attempts, and increased suicide risk. Id.



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        Plaintiff alleges that she received mental health services in Defendants’

  facility and that on two separate occasions she told her mental health providers of

  her plans to cut off her penis. A.32, ¶¶ 30-31. Plaintiff further alleges that her plans

  to self-castrate were noted in her records and verbally conveyed to Defendants.

  A.32, ¶¶ 30-31; A.33, ¶ 32. And after Defendants continued to deny her

  accommodation requests, Plaintiff alleges, she attempted to self-castrate by

  wrapping a rubber band around her genitals. A.33, ¶ 32; A.43, ¶ 83.

        Plaintiff also alleges she was sexually assaulted and consistently harassed in

  Defendants’ custody; treatment she grieved about consistently. A.43, ¶¶ 84-86;

  A.44, ¶¶ 87-88; A.43, ¶¶ 99-101; A.47, ¶¶ 102-105. She alleges that that she told

  jail mental health providers she was suffering from “extreme anxiety,”

  experiencing difficulty with her mental health, and that her situation was causing

  her “anxiety and depression.” A.39, ¶¶ 60, 62.

        Finally, Plaintiff alleges she wrote grievances every day stating that she was

  “suffering mentally and physically,” and that Defendants’ failure to provide

  accommodations for her gender dysphoria—including moving her to a women’s

  unit within the jail—was having a “harmful effect on her physical and mental

  health,” causing her anxiety to go “through the roof,” and causing her trauma,

  suffering, and “physical and emotional pain.” A.39, ¶ 61; A.44, ¶¶ 89-91.




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             B. Plaintiff pled circumstantial evidence sufficient to show
                Defendants must have known of her disability and need for
                accommodation, meeting the knowledge prong of the deliberate
                indifference test

          The Supreme Court has suggested that circumstantial evidence may create a

  fact question on deliberate indifference where the alleged rights violations are

  “longstanding, pervasive, well-documented, or expressly noted by the prison

  officials in the past, and the circumstances suggest that the defendant-official being

  sued had been exposed to information concerning the risk and thus must have

  known about it.” Farmer v. Brennan, 511 U.S. 825, 842 (1994) (when considering

  “substantial risk” in the context of an Eighth Amendment claim, the court held that

  “a factfinder may conclude that a prison official knew of a substantial risk from the

  very fact that the risk was obvious”). See also Havens, 897 F.3d at 1266 (“Whether

  a prison official had the requisite knowledge of a substantial risk is a question of

  fact subject to demonstration in the usual ways, including inference from

  circumstantial evidence ....”) (internal citation omitted).

          Here, in addition to alleging that Defendants had actual notice of her

  disability and the symptoms of her disability, actual notice of her need for

  accommodation, and actual notice of the impact denial of those accommodations

  would have on her,6 Plaintiff alleges facts showing that Defendants were exposed


  6
      See Section 1.A.


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  to considerable information concerning the risks she faced, and thus must have

  known about those risks. For example, Plaintiff’s complaint contains allegations

  about her medical and incarceration records; records to which Defendants had

  unfettered access. These records contained information regarding Plaintiff’s gender

  dysphoria diagnosis, blindness, and history of being accommodated by being

  housed in female units. A.37 ¶¶ 49-50; A.38 ¶ 57. A.40 ¶ 65.

        These facts, collectively considered, indicate that Plaintiff can prove that the

  risk of cognizable harm to her was so great and so obvious that Defendants’ failure

  to respond to that risk alone supports a finding of deliberate indifference. This

  creates a question of fact that is sufficient to survive a motion to dismiss. See Koon

  v. North Carolina, 50 F.4th 398, 407 (4th Cir. 2022) (“When a risk was so

  ‘obvious’ that an official must have had knowledge, that can get a deliberate-

  indifference question to a jury.”)

            C. Plaintiff pled that Defendants failed to undertake a fact specific
               investigation to determine if her accommodation requests were
               reasonable and should have been provided

        Once a public entity has received an accommodation request, or the need for

  an accommodation is “obvious,” it is incumbent on that entity to undertake a “fact

  specific investigation” to determine if the request is reasonable and should be

  provided. See Duvall, 260 F.3d at 1139. Whether an entity failed to undertake such

  an investigation and/or failed to provide a reasonable accommodation is a question



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  of fact to be decided by the fact finder. Tabura v. Kellogg USA, 880 F.3d 544, 555

  (10th Cir. 2018) (Title VII religious discrimination). See also Bahl v. Cty. of

  Ramsey, 695 F.3d 778, 784-85 (8th Cir. 2012) (“The reasonable modification

  inquiry is highly fact-specific and varies depending on the circumstances of each

  case”); Makeen v. State, No. 14-CV-03452-CMA-CBS, 2015 WL 1945299, at *2

  (D. Colo. Apr. 29, 2015) (“Whether an accommodation under the ADA is

  reasonable is a factual issue and depends on the specific circumstances of the

  case.”) (citing McAlindin v. County of San Diego, 192 F.3d 1226, 1238 (9th Cir.

  1999)). Here, Plaintiff sufficiently pled the fact that she made numerous

  accommodation requests of Defendants and that such requests were flatly denied.7

  The failure of Defendants to undertake a fact specific investigation to determine

  whether Plaintiff’s accommodation requests were reasonable and should be

  provided constitutes deliberate indifference.

  II. Defendants Are Not Shielded From Damages for Deliberate Indifference
      Discrimination Based on a Contention That Plaintiff’s Claim Was Legally
      Unsettled

          Although the district court properly found that Plaintiff’s gender dysphoria

  constituted a disability under the ADA, the court’s subsequent reasoning that

  Defendants are nevertheless immune from damages solely because the fact of



  7
      See Section I.A.


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  Plaintiff’s disability was legally in dispute is entirely novel. Upholding the court’s

  analysis would upend the ADA and run afoul of decades of case law.

        The determination of whether a person has a disability—an impairment that

  substantially limits a major life activity—requires an individualized assessment. 28

  C.F.R. § 35.108 (d)(iv) (2016).8 Even after the passage of the ADA Amendments

  Act of 2008 (clarifying the scope of the definition of disability under the ADA),

  defendants may—rightly or wrongly—dispute in court whether a person has a

  disability. The dispute may be over whether the impairment—such as an

  orthopedic injury9 or ADHD10—is substantially limiting. As in some cases, the

  dispute may be whether there is an impairment at all, as can arise in a case alleging

  disability discrimination based on “obesity” or higher weight.11


  8
   Department of Justice, Amendment of Americans With Disabilities Act Title II
  and Title III Regulations To Implement ADA Amendments Act of 2008, 81 Fed.
  Reg. 53203 (Aug. 11, 2016); 28 C.F.R. § 35.108(d) (2016).
  9
    See Tesone v. Empire Mktg. Strategies, 942 F.3d 979, 999 (10th Cir. 2019)
  (reversing and remanding grant of summary judgment for employer and directing a
  case-specific consideration of whether expert evidence was required for plaintiff to
  show that lower back injury was disability under ADA).
  10
    See Johnson v. Sedgwick Cty. Sheriff’s Dep’t, 461 F. App’x 756, 759 (10th Cir.
  2012) (affirming summary judgment granted defendant where district court found
  no evidence that plaintiff’s ADHD substantially limited a major life activity);
  Kulasa v. Wyndham Vacation Rentals N. Am., LLC, No. 20-1402, 2021 WL
  3832343, at *3 (10th Cir. Aug. 27, 2021) (same).
  11
    See, e.g., Brownwood v. Wells Trucking LLC, No. 16-cv-01264-PAB-NYW,
  2017 WL 9289453, at *4 (D. Colo. Nov. 9, 2017) (“Although the Tenth Circuit has
  not yet addressed this issue, a majority of courts have held that obesity does not

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        The dispute may also—as here—be over whether an exemption in the ADA

  applies. See, e.g., Edmo v. Idaho Dep't of Correction, No. 1:17-CV-00151-BLW,

  2018 WL 2745898, at *8 (D. Idaho June 7, 2018) (denying a motion to dismiss

  because the question of whether the plaintiff’s gender dysphoria diagnosis falls

  under a specific exclusion of the ADA presents a genuine dispute of material fact).

  See also Mauerhan v. Wagner Corp., 649 F.3d 1180, 1187-88 (10th Cir. 2011)

  (“The issue, therefore, is not solely one of the number of days or weeks that have

  passed since an individual last illegally used drugs. … [A]n individual’s eligibility

  for the safe harbor must be determined on a case-by-case basis, examining whether

  the circumstances of the plaintiff’s drug use and recovery justify a reasonable

  belief that drug use is no longer a problem.”) (construing and applying 42 U.S.C. §

  12114, the ADA’s substance use exclusion, and denying coverage); and George v.

  Cmty. Health Ctrs., No. CIV-21-00464-PRW, 2022 WL697787, at *5 (W.D. Okla.

  Mar. 8, 2022) (“Ms. George has presented evidence and arguments sufficient for

  fact-finders to conclude that she is a qualified individual with a disability who is

  within the safe harbor’s protections.”) (granting coverage).




  qualify as an impairment, absent evidence of an underlying physiological cause.”);
  cf. Tesone, 942 F.3d at 996 (citing Cook v. R.I. Dep’t of Mental Health,
  Retardation, and Hosps., 10 F.3d 17, 23 (1st Cir. 1993) (noting that “the jury could
  plausibly have found that plaintiff had a physical impairment” because “she
  presented expert testimony that morbid obesity is a physiological disorder”)).


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        Thus, whether an individual has a disability under the ADA is not always

  going to be “settled”; the outcome of such a dispute may depend upon the fact

  finder’s review of the law and the evidence. Such a review occurred here. Before

  the district court were Plaintiff’s allegations of gender dysphoria and associated

  substantial limitations. A.33, ¶¶ 33-36. Plaintiff apprised the court of a series of

  cases dating back to 2018 holding that gender dysphoria was not excluded from the

  protections of the ADA and Section 504.12 ECF 147 at 47. The Appellate Court for

  the Fourth Circuit had just issued an Opinion confirming that gender dysphoria



  12
     In fact, there is a run of cases dating back to 2015 holding that gender dysphoria
  is not excluded from the protections of the ADA and Section 504. See, e.g.,
  Williams v. Kincaid, 45 F.4th 759, 769 (4th Cir. 2022), cert. denied, 143 S. Ct.
  2414 (2023) (“as a matter of statutory construction” gender dysphoria is not a
  gender identity disorder”); Zayre-Brown v. N. Carolina Dep’t of Pub. Safety, No.
  3:22-CV-191-MOC-DCK, 2022 WL 4456268, at *5 (W.D.N.C. Sept. 23, 2022) (“a
  plaintiff can state a claim for disability discrimination for gender dysphoria as a
  matter of law”); Venson v. Gregson, No. 3:18-CV-2185-MAB, 2021 WL 673371,
  at *2-3 & n.2 (S.D. Ill. Feb. 22, 2021) (rejecting argument that ADA excludes
  gender dysphoria); Shorter v. Barr, 2020 WL 1942785, at *9 (N.D. Fla. Mar. 13,
  2020) report and recommendation adopted, 2020 WL 1942300 (Apr. 22, 2020) (the
  Rehabilitation Act); Iglesias v. True, 403 F. Supp. 3d 680, 688 (S.D. Ill. 2019)
  (rejecting argument that “gender dysphoria falls within the [Rehabilitation Act’s]
  exclusionary language”); Doe v. Massachusetts Dep’t of Correction, No. CV 17-
  12255-RGS, 2018 WL 2994403, at*7 (D. Mass. June 14, 2018) (the ADA’s
  transgender exclusion did not apply to gender dysphoria); Edmo v. Idaho Dep’t of
  Corr., No. 1:17-cv-00151-BLW, 2018 WL 2745898, at *8 (D. Idaho June 7, 2018)
  (declining to dismiss ADA claim based on gender dysphoria); Tate v. Wexford
  Health Source Inc., No. 3:16-CV-00092-NJR, 2016 WL 687618, at *5 (S.D. Ill.
  Feb. 19, 2016) (allowing transgender inmate to proceed on claim under the ADA);
  and Blatt v. Cabela’s Retail, Inc., No. 5:14-cv-04822, 2017 WL 2178123, at *4
  (E.D. Pa. Nov. 16, 2015) (holding that gender dysphoria is protected by the ADA).

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  does not fall within the ADA’s exclusions. Williams v. Kincaid, 45 F.4th 759, 769

  (4th Cir. 2022), cert. denied, 143 S. Ct. 2414 (2023). Plaintiff had also apprised the

  court of a Statement of Interest of the Department of Justice’s Statement opining

  that “[i]n light of the evolving scientific evidence suggesting that Gender

  Dysphoria may have a physical basis, along with the remedial nature of the ADA

  and the relevant statutory and regulatory provisions directing that the terms

  ‘disability’ and ‘physical impairment’ be read broadly, the [ADA’s exclusion of

  gender identity disorders not resulting from a physical impairment] should be

  construed narrowly such that Gender Dysphoria falls outside its scope.”13 A.70, ¶

  266, citing Second Statement of Interest of the United States at 5, Blatt v. Cabela’s

  Retail, Inc., No. 5:14-cv-4822-JFL, 2015 WL 9872493 (E.D. Pa. Nov. 16, 2015).

        Considering these facts and law, the district court properly found that

  Plaintiff’s gender dysphoria constituted a disability under the ADA. It was error,


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     Notably, through the last three Administrations, the Department of Justice has
  consistently opined that gender dysphoria falls within the statutory protections of
  the ADA and Section 504. In addition to the Second Statement of Interest of the
  United States in Blatt, the Department submitted a Statement of Interest in Doe v.
  Arrisi, No. 3:16-CV-08640 (D.N.J. July 17, 2017), Doc 49, filed July 17, 2017,
  opining that gender dysphoria “falls within the statutory protections of the ADA”;
  and penned a March 31, 2022 letter to State Attorneys General stating that Section
  504 of the Rehabilitation Act “protects people with disabilities, which can include
  individuals who experience gender dysphoria.” Letter to State Attorneys General
  from Kristin Clarke, Assistant Attorney General, Department of Justice, Civil
  Rights Division, available at https://www.justice.gov/media/1215916/dl?inline
  (last viewed August 18, 2018).


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  however, for the court to subsequently conclude that the fact Plaintiff’s disability

  was in dispute shields Defendants from any possibility of an intentionality finding

  and liability for damages.14 Defendants’ knowledge and intent in subjecting

  Plaintiff to their discriminatory policies, and Plaintiff’s entitlement to damages as

  the result of Defendants’ discrimination, are independent questions of fact,

  unsuitably decided on a motion to dismiss.

  III. Unlike a Qualified Immunity Analysis, the Intentionality Requirement
       for Damages Under the ADA and Section 504 Requires a Fact Intensive
       Review Not Amenable to Resolution on the Pleadings

        The district court improperly conflates case law analyzing qualified

  immunity—which is not a defense, but an exclusion from liability—with the

  intentionality requirement for damages under the ADA and Section 504.

  Intentionality, unlike qualified immunity, is a factual determination improper for

  disposition on the pleadings.

        Qualified immunity “‘protects government officials from liability for civil

  damages insofar as their conduct does not violate clearly established statutory or

  constitutional rights of which a reasonable person would have known.’” Colbruno



  14
    This is particularly true because there is no evidence in the record that
  Defendants relied upon any legal construction of the ADA or Section 504, or a
  review of applicable case law when denying Plaintiff’s accommodation requests or
  deciding not to undertake the fact specific investigation required to determine
  whether her accommodation requests were reasonable and should be provided.


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  v. Kessler, 928 F.3d 1155, 1160 (10th Cir. 2019), citing Callahan v. Unified Gov’t

  of Wyandotte Cty., 806 F.3d 1022, 1026 (10th Cir. 2015) (emphasis added). It has

  been characterized as necessary to protect public officials, not only from liability,

  but from the burden of litigation. Unlike factual questions of intent, qualified

  immunity is appropriately addressed at the pleading stage, as it reflects “an

  entitlement not to stand trial or face the other burdens of litigation.’” Mitchell v.

  Forsyth, 472 U.S. 511, 526 (1985).

        Deliberate indifference, on the other hand, turns on a factual determination

  as to whether there is a “strong likelihood that pursuit of [an entity’s] questioned

  policies will likely result in a violation of federally protected rights.” Barber ex rel.

  Barber, 562 F.3d at 1229-30 (emphasis added), citing Powers v. MJB Acquisition

  Corp., 184 F.3d 1147, 1153 (10th Cir. 1999). The deliberate indifference standard

  is applied in place of a direct showing of intentional discrimination “…consistent

  with the purposes animating the Rehabilitation Act. … not only to curb ‘conduct

  fueled by discriminatory animus,’ but also to right ‘the result of apathetic attitudes

  rather than affirmative animus.’” Havens at 1264, internal quotes and citations

  omitted. Whether this standard, discussed in Section I, has been met in a particular

  case is a fact intensive review not amenable to resolution on the pleadings.




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  IV. The Supreme Court’s Opinion in Cummings v. Premier Rehab Keller,
      P.L.L.C. Does Not Apply to This Case, and Regardless, Need Not be
      Addressed by this Appeal

        In Cummings, the Supreme Court addressed the very limited question of

  whether emotional distress damages are available under Section 504 and Section

  1557 of the Patient Protection and Affordable Care Act, 42 U.S.C. § 18116

  (“Section 1557”). Although the Magistrate’s Report foreshadows an improper

  potential expansion of the Cummings opinion to bar all compensatory damages

  under Section 504 and the ADA, see A.122, this Court need not address that issue.

  Should it nonetheless choose to do so, Amici urge this Court to find—for the

  reasons set forth below—that Cummings is narrowly focused on emotional distress

  damages under Section 504 and does not have a broader application to the facts of

  this case.

               A. Cummings is narrowly focused on damages for emotional distress
                  and does not preclude compensatory damages as a category

        In Cummings, a deaf and legally blind individual was denied a sign language

  interpreter when receiving physical therapy services. Cummings, 142 S. Ct. at

  1568–69. She brought suit under Section 504 and Section 1557. Id. at 1569. The

  “only compensable injuries” claimed by the plaintiff were “humiliation, frustration,

  and emotional distress.” Id. (internal quotation marks omitted). The Supreme Court

  thus considered only the narrow question of whether “compensatory damages for




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  emotional distress are available under the implied Title VI cause of action.” Id. at

  1576 (Kavanaugh and Gorsuch, J.J., concurring) (emphasis added).

        The majority’s analysis in Cummings began and ended with the

  Rehabilitation Act’s enactment as Spending Clause legislation. Id. at 1570.

  Because Spending Clause legislation operates as a quasi-contract between the

  federal government and recipients of federal aid, the Court considered whether “a

  prospective funding recipient, at the time it ‘engaged in the process of deciding

  whether to accept federal dollars, [would] have been aware that it would face such

  liability.’” Id. at 1570–71 (quoting Arlington Cent. Sch. Dist. Bd. of Educ. v.

  Murphy, 548 U.S. 291, 296 (2006)). The Court answered this question, with

  respect to the specific statutes at issue, by looking to treatises on contract law in

  which it found that “emotional distress is generally not compensable in contract.”

  Id. at 1571 (emphasis added). See D. Laycock & R. Hasen, Modern American

  Remedies 216 (5th ed. 2019) (“emotional distress is generally not compensable in

  contract”) (emphasis added); 11 W. Jaeger, Williston on Contracts § 1341, p. 214

  (3d ed. 1968) (“Mental suffering caused by breach of contract, although it may be

  a real injury is not generally allowed as a basis for compensation in contractual

  actions”) (emphasis added); E. Farnsworth Contracts § 12.17, p. 894 (1982) (rule

  of “generally denying recovery for emotional disturbance or ‘mental distress’

  resulting from breach of contract”) (emphasis added); J. Perillo, Calamari & Perillo



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  on Contract § 14.5, p. 495 (6th ed. 2009) (Calamari & Perillo) (“As a general rule,

  no damages will be awarded for the mental distress or emotional trauma that may

  be caused by a breach of contract.”) (emphasis added); C. McCormick, Law of

  Damages § 145, p. 592 (1935) (“It is often stated as the ‘general rule’ that, in

  actions for breach of contract, damages for mental suffering are not allowable.”)

  (emphasis added).

        Notably, each of the Court’s cited sources is narrowly focused on damages

  for emotional distress and not the category of compensatory damages more

  broadly. Rightfully so, as other compensatory damages are traditionally awarded

  for breaches of contract. See, e.g., Restatement (Second) of Contracts § 347:

  “[T]he injured party has a right to damages based on his expectation interest as

  measured by (a) the loss in value to him of the other party’s performance caused by

  its failure or deficiency, plus (b) any other loss, including incidental or

  consequential loss, caused by the breach, less (c) any cost or other loss that he has

  avoided by not having to perform.”; Williston on Contracts § 64:1: “The

  fundamental principle that underlies the availability of contract damages is that of

  compensation”; Corbin on Contracts § 55.11: “Compensatory Damages – The

  General Standard.”

        The availability of other forms of compensatory damages after Cummings

  has been acknowledged by multiple courts. See, e.g., Montgomery v. District of



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  Columbia, 2022 WL 1618741, at *25 (D.D.C. May 23, 2022) (holding that while

  Cummings barred damages for emotional distress, other injuries could support an

  award of compensatory damages, including damages arising from plaintiff’s loss of

  an opportunity to engage in interrogations); Doe next friend of Doe v. City of

  Pawtucket, 633 F.Supp.3d 583, 590 (D.R.I., 2022) (compensatory damages in the

  form of medical expenses resulting from physical injuries permitted under

  Cummings); Chaitram v. Penn Medicine-Princeton Med. Ctr., No. 21-17583, 2022

  WL 16821692, at *2 (D.N.J. Nov. 8, 2022) (holding plaintiff had “an expectation

  interest in the ability to fully participate in her own medical care through effective

  communication” and that compensatory damages under a loss of opportunity

  theory were therefore recoverable); Doe v. Fairfax Cnty. Sch. Bd., No. 1:18-cv-

  00614, 2023 WL 424265, at *4 (E.D. Va. Jan. 25, 2023) (holding that “losses of

  educational opportunities remain recoverable post-Cummings” and observing that

  “[s]everal post-Cummings district courts have allowed plaintiffs to seek recovery

  for lost opportunities they suffered as a result of discrimination in violation of

  Spending Clause statutes.”); and A.T. v. Oley Valley Sch. Dist., No. CV 17-4983,

  2023 WL 1453143, at *4 (E.D. Pa. Feb. 1, 2023) (nothing in the Cummings

  decision bars a plaintiff from seeking other forms of compensatory damages). This

  Court should similarly find that Cummings is narrowly focused on emotional

  distress damages and does not bar compensatory damages generally.



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            B. A finding that emotional distress damages are unavailable under
               Title II of the ADA would contradict the statute and undermine
               its remedial purpose

        The expansion of Cummings’ bar on emotional distress damages to Title II

  of the ADA would eliminate an essential remedy that Congress intended to make

  available to victims of disability discrimination when the ADA was enacted.

        Congress codified its purposes in enacting the ADA: “to provide a clear and

  comprehensive national mandate for the elimination of discrimination against

  individuals with disabilities;” “to provide clear, strong, consistent, enforceable

  standards addressing discrimination against individuals with disabilities;” and “to

  invoke the sweep of congressional authority, including the power to enforce the

  fourteenth amendment and to regulate commerce, in order to address the major

  areas of discrimination faced day-to-day by people with disabilities.” 42 U.S.C. §

  12101 (b)(1), (2), (4). Congress specifically found that “individuals who have

  experienced discrimination on the basis of disability have often had no legal

  recourse to redress such discrimination.” Id. at § 12101(a)(4). In other words,

  Congress found that current laws were inadequate to prevent and remedy the

  discrimination experienced by people with disabilities.

        To achieve its remedial purpose, Congress tied the remedies for Title II to

  Section 504 of the Rehabilitation Act based on its then-understanding of the broad




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  scope of remedies available under that statute.15 In so doing, Congress

  demonstrated its intent to include emotional-distress damages as part of the “full

  panoply of remedies” available to plaintiffs for violations of the ADA. H.R. Rep.

  No. 101- 485 (III, at 52 (1990).16 Indeed, Section 504—at that time—provided for

  that full range of potential damages, and Congress unmistakably meant to make

  that full range available to ADA plaintiffs. In floor debates, Senator Harkin, the

  ADA’s chief Senate sponsor, stated: “Title II of the bill makes available the rights




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     See 42 U.S.C. § 12133 (“The remedies, procedures, and rights set forth in
  section 794a of Title 29 shall be the remedies, procedures, and rights this
  subchapter provides to any person alleging discrimination on the basis of disability
  in violation of section 12132 of this title.”). Differently stated, Title II’s
  enforcement provision incorporates the remedy provision of Section 505 of the
  Rehabilitation Act of 1973. In turn, 29 U.S.C. § 794a incorporates selected remedy
  provisions of the Civil Rights Act of 1964, including remedies available under
  Titles VI and VII of the 1964 Act. See 29 U.S.C. § 794a (a)(1) and (2) (“The
  remedies, procedures, and rights set forth in section 717 of the Civil Rights Act of
  1964 . . . shall be available, with respect to any complaint under section 791 of this
  title” and “The remedies, procedures, and rights set forth in title VI of the Civil
  Rights Act of 1964 . . . shall be available.”).
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     In contemplating the range of remedies available, Congress expressly looked to
  Miener v. Missouri, 673 F.2d 969 (8th Cir. 1982), a case in which the court held
  that a student with disabilities had stated a valid claim for damages under Section
  504 of the Rehabilitation Act based on the denial of access to educational
  resources. See H.R. Rep. No. 101-485 (III), “The Rehabilitation Act provides a
  private right of action, with a full panoply of remedies available, as well as
  attorney's fees” at 52, see also n.62 (discussing Miener); Miener, 673 F.2d at 978
  (concluding “damages are awardable under [Section] 504” based on the
  “presumption . . . that a wrong must find a remedy, and in light of the inadequacy
  of administrative remedies”).


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  and remedies also available under section 504 of the Rehabilitation Act, and

  damages remedies are available under that provision enforcing section 504 of the

  Rehabilitation Act and, therefore, also under title II of this bill.” 135 Cong. Rec.

  S10734-02, S10755, 1989 WL 183115 (daily ed. Sept. 7, 1989) (emphasis added).

        Moreover, unlike the Rehabilitation Act, Congress did not enact the ADA

  under the Spending Clause. Instead, the ADA was enacted as a “nonspending

  statute” through Congress’s broader powers under the Fourteenth Amendment and

  Commerce Clause. 42 U.S.C. § 12101(b)(4) (congressional purpose “invok[ing]

  the sweep of congressional authority, including the power to enforce the fourteenth

  amendment and to regulate commerce in order to address the major areas of

  discrimination faced day-to-day by people with disabilities.”). Title II, therefore, is

  not subject to the same limitations as Spending Clause acts like Section 504.

        Based on the foregoing, the contract analogy that the Supreme Court relied

  on in Cummings—and which served as the basis for preclusion of emotional

  distress damages—has no direct application to the ADA. The ADA’s national

  mandate to prevent discrimination would be undermined and replaced with a

  patchwork of state laws if Cummings was expanded in such a manner.




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                                   CONCLUSION

        For the foregoing reasons, Amici respectfully request that the judgment of

  the district court be reversed, and this matter be remanded for further proceedings.



  Respectfully Submitted,

  DISABILITY RIGHTS EDUCATION AND DEFENSE FUND

  By:   s/ Michelle Uzeta
        Michelle Uzeta
        Attorneys for Amici Curiae


  Dated: August 25, 2023




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                          CERTIFICATE OF COMPLIANCE

        I certify that the foregoing brief complies with the word limitation of Fed. R.

  App. P. 29(a)(5) and the typeface and type style requirements of Fed. R. App. P.

  32(a)(5) and (6). The brief contains 6108 words, excluding the items exempted by

  Fed. R. App. P. 32(f), as counted using Microsoft Word for Mac, Version 16.76,

  and uses a proportionally spaced typeface and 14-point font.



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  DISABILITY RIGHTS EDUCATION AND DEFENSE FUND

  By:   s/ Michelle Uzeta
        Michelle Uzeta
        Attorneys for Amici Curiae


  Dated: August 25, 2023




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                                      ADDENDUM

        Disability Rights Education & Defense Fund: The Disability Rights

  Education & Defense Fund (DREDF), based in Berkeley, California, is a national

  nonprofit law and policy center dedicated to protecting and advancing the civil and

  human rights of people with disabilities. Founded in 1979 by people with

  disabilities and parents of children with disabilities, DREDF remains board- and

  staff-led by members of the communities for whom we advocate. DREDF pursues

  its mission through education, advocacy and law reform efforts. DREDF is

  nationally recognized for its expertise in the interpretation of federal disability civil

  rights laws and has participated as amicus in numerous high court matters

  involving those laws. As part of its mission, DREDF works to ensure that people

  with disabilities have the legal protections, including broad legal remedies,

  necessary to vindicate their right to be free from discrimination.

        The Arc of the United States: The Arc of the United States (The Arc),

  founded in 1950, is the Nation’s largest community-based organization of and for

  people with intellectual and developmental disabilities (IDD). Through its legal

  advocacy and public policy work, The Arc promotes and protects the human and

  civil rights of people with IDD and actively supports their full inclusion and

  participation in the community throughout their lifetimes.

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         Autistic Women & Nonbinary Network: The Autistic Women &

  Nonbinary Network (AWN)provides community support, and resources for

  Autistic women, girls, transfeminine and transmasculine nonbinary people, trans

  people of all genders, Two Spirit people, and all people of marginalized genders or

  of no gender. AWN is committed to recognizing and celebrating diversity and the

  many intersectional experiences in our community. AWN’s work includes

  solidarity aid, community events, publications, fiscal support, and advocacy to

  empower disabled and autistic people in their fight for disability, gender, and racial

  justice.

         Autistic Self Advocacy Network: The Autistic Self-Advocacy Network

  (ASAN) is a national, private, nonprofit organization, run by and for autistic

  individuals. ASAN provides public education and promotes public policies that

  benefit autistic individuals and others with developmental or other disabilities.

  ASAN’s advocacy activities include combating stigma, discrimination, and

  violence against autistic people and others with disabilities; promoting access to

  health care and long-term supports in integrated community settings; and educating

  the public about the access needs of autistic people. ASAN takes a strong interest

  in cases that affect the rights of autistic individuals and others with disabilities to




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  participate fully in community life and enjoy the same rights as others without

  disabilities.

         The Judge David L. Bazelon Center for Mental Health Law: Founded in

  1972 as the Mental Health Law Project, the Judge David L. Bazelon Center for

  Mental Health Law (Bazelon Center) is a national non-profit advocacy

  organization that advocates for the rights of individuals with mental disabilities.

  Through litigation, public policy advocacy, public education, and technical

  assistance, the Bazelon Center works to advance the rights and dignity of

  individuals with mental disabilities in all aspects of life, including health care,

  community living, employment, education, housing, voting, parental and family

  rights, and other areas. The Americans with Disabilities Act and Section 504 of the

  Rehabilitation Act are the foundation for most of the Center’s legal advocacy.

         The Coelho Center for Disability Law, Policy and Innovation: The

  Coelho Center for Disability Law, Policy and Innovation (Coelho Center)

  collaborates with the disability community to cultivate leadership and advocate

  innovative approaches to advance the lives of people with disabilities. We envision

  a world in which people with disabilities belong and are valued, and their rights are

  upheld. The Coelho Center was founded in 2018 by former Congressman Anthony

  “Tony” Coelho, original sponsor of the Americans with Disabilities Act.

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        Civil Rights Education and Enforcement Center: The Civil Rights

  Education and Enforcement Center (CREEC) is a nonprofit legal organization that

  fights for liberation through the lens of intersectional disability justice with a

  combination of education, legal advocacy, direct services, and impact litigation.

  CREEC has successfully enforced both state and federal anti-discrimination laws

  protecting the disabled in multiple jurisdictions, bringing both individual actions

  and class actions challenging access restrictions.

        Disability Law Colorado: Disability Law Colorado (“DLC”) is a non-profit

  organization designated by the Governor of the state of Colorado as the federally-

  mandated Protection and Advocacy System for the state. Through its federal grants

  and authority, DLC works to protect the rights of people with disabilities in

  facilities – including correctional facilities and jails – and in the community

  through direct advocacy, systemic litigation and policy development. DLC works

  with individuals with all types of disabilities from birth through death on issues

  including abuse, neglect, discrimination in employment and housing, physical

  accessibility in public accommodations, special education services in school and

  generally seeking to ensure that people with disabilities are included in the

  community to the maximum extent possible. DLC is part of a nation-wide system

  of Protection and Advocacy Systems.

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        Disability Rights Advocates: Disability Rights Advocates (DRA) is based

  in Berkeley, California with offices in New York City, New York and Chicago,

  Illinois. DRA is a national nonprofit public interest legal center recognized for its

  expertise on issues affecting people with disabilities. DRA is dedicated to ensuring

  dignity, equality, and opportunity for people with all types of disabilities, and to

  securing their civil rights. To accomplish those aims, DRA represents clients with

  disabilities who face discrimination or other violations of federal or state civil

  rights or federal constitutional protections in complex, system changing class

  action and impact litigation. DRA is generally acknowledged to be one of the

  leading public interest disability rights litigation organizations in the country,

  taking on precedent-setting disability rights class actions across the nation.

        Disability Rights Bar Association: The Disability Rights Bar Association

  (DRBA) was started by a group of disability rights counsel, law professors, legal

  nonprofits and advocacy groups who share a commitment to effective legal

  representation of individuals with disabilities. Members of DRBA commonly

  believe that the fundamental civil rights of people with disabilities are inadequately

  represented in our society and that litigation and other legal advocacy strategies

  play a highly effective and necessary role in enforcing and advancing the rights of

  people with disabilities.

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        Impact Fund: The Impact Fund is a non-profit legal foundation that

  provides funding for impact litigation, offers innovative training and support, and

  acts as counsel in impact litigation across the country. The Impact Fund has an

  interest in ensuring that class actions remain a robust vehicle for individuals with

  disabilities and other underserved communities to vindicate their rights and enable

  greater access to justice.

        National Association of Rights Protection and Advocacy: The National

  Association of Rights Protection and Advocacy (“NARPA”) was formed in 1981

  to provide support and education for advocates working in the mental health arena.

  It monitors developing trends in mental health law and identifies systemic issues

  and alternative strategies in mental health service delivery on a national scale.

  Members are attorneys, people with psychiatric histories, mental health

  professionals and administrators, academics, and non-legal advocates -- with many

  people in roles that overlap. Central to NARPA’s mission is the promotion of those

  policies and strategies that represent the preferred options of people who have been

  diagnosed with mental disabilities. Approximately 40% of NARPA’s members are

  current or former patients of the mental health system.

        National Disability Rights Network: The National Disability Rights

  Network (“NDRN”) is the non-profit membership organization for the federally

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  mandated Protection and Advocacy (P&A) and Client Assistance Program (CAP)

  agencies for individuals with disabilities. The P&A and CAP agencies were

  established by the United States Congress to protect the rights of people with

  disabilities and their families through legal support, advocacy, referral, and

  education. There are P&As and CAPs in all 50 states, the District of Columbia,

  Puerto Rico, and the U.S. Territories (American Samoa, Guam, Northern Mariana

  Islands, and the US Virgin Islands), and there is a P&A and CAP affiliated with the

  Native American Consortium which includes the Hopi, Navajo and San Juan

  Southern Paiute Nations in the Four Corners region of the Southwest. Collectively,

  the P&A and CAP agencies are the largest provider of legally based advocacy

  services to people with disabilities in the United States.

        Transgender Legal Defense and Education Fund: The Transgender Legal

  Defense and Education Fund (TLDEF) is a non-profit organization that advocates

  on behalf of transgender individuals across the United States. TLDEF is committed

  to ensuring that transgender individuals receive the same rights and protections

  under the law as cisgender individuals. TLDEF seeks to coordinate with other civil

  rights organizations to address key issues affecting transgender individuals in the

  areas of identity recognition, safety, access to health care, and freedom from

  discrimination. It also provides public education on transgender rights.

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                   CERTIFICATE OF DIGITAL SUBMISSION

        I certify that (1) all required privacy redactions have been made from this

  brief per 10th Cir. R. 25.5; (2) this ECF submission is an exact copy of the hard

  copies that will be submitted to the Court; and (3) this brief has been scanned for

  viruses by XProtect Version 2169 last updated on July 7, 2023, and, according to

  the program, is free of viruses.



  Respectfully Submitted,

  DISABILITY RIGHTS EDUCATION AND DEFENSE FUND

  By:   s/ Michelle Uzeta
        Michelle Uzeta
        Attorneys for Amici Curiae


  Dated: August 25, 2023




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                            CERTIFICATE OF SERVICE

        I hereby certify that on August 25, 2023, I electronically filed the foregoing

  AMICUS CURIAE BRIEF OF THE DISABILITY RIGHTS EDUCATION AND

  DEFENSE FUND AND THIRTEEN OTHER ORGANIZATIONS AS AMICI

  CURIAE IN SUPPORT OF PLAINTIFF-APPELLANT AND URGING

  REVERSAL AND REMAND with the Clerk of the Court for the United States

  Court of Appeals for the Tenth Circuit by using the appellate CM/ECF system.

        I certify that all the participants in the case are registered CM/ECF users,

  and that service will be accomplished by the appellate CM/ECF system.



  Respectfully Submitted,

  DISABILITY RIGHTS EDUCATION AND DEFENSE FUND

  By:   s/ Michelle Uzeta
        Michelle Uzeta
        Attorneys for Amici Curiae


  Dated: August 25, 2023




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